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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MALEEHA AHMAD, et al.,                    )
                                          )
            Plaintiffs,                   )
                                          )
      vs.                                 )        Case No. 4:17 CV 2455 CDP
                                          )
CITY OF ST. LOUIS, MISSOURI,              )
                                          )
            Defendant.                    )

                           MEMORANDUM AND ORDER

      This matter is before the Court on the motion to intervene filed by nonparty

National Lawyers Guild (NLG), which will be granted as unopposed. The NLG

seeks to quash subpoenas served on two NLG legal observers, Keith Rose and

Scott Kampas. The subpoenas demand production of proprietary NLG materials,

which NLG claims are confidential and protected from disclosure as attorney work

product. The subpoenas do not state the deposition’s scope or subject matter. The

depositions are noticed for April 2 and 3, 2019.

      Defendant has the right to depose Keith Rose in this matter, as he has

provided evidence in this case. However, he was not participating in the events at

issue in this case as an NLG legal observer. Therefore, defendant appears to have

no legal basis upon which to subpoena NLG materials from him, as such materials

are completely irrelevant to this case and his testimony. As for Scott Kampas, his
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only purported connection to this case is as an NLG trainer for plaintiff Pamela

Lewczuk, who was at the events at issue as a legal observer for the NLG.

Defendant has already taken Lewczuk’s deposition. Lewczuk testified as to her

training, her participation in the NLG, and what happened to her during the events

at issue in this case. Lewczuk is not an expert witness in this case and does not

opine as to whether defendant’s conduct complied with constitutional

requirements. Under such circumstances,

      IT IS HEREBY ORDERED that the motion to intervene [130] is granted

as unopposed.

      IT IS FURTHER ORDERED that defendant shall show cause in writing

by no later than noon on April 3, 2019, why the subpoena issued to Keith Rose

should not be quashed as to the request for production of documents, and why

the subpoena issued to Scott Kampas should not be quashed in its entirety.

The written response shall not exceed the local rule’s page limitation

requirement, and no extension of time will be granted.




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      IT IS FURTHER ORDERED that any reply brief submitted in support

of the motion to quash shall be filed by no later than 5:00 p.m. on April 3,

2019 and shall not exceed five pages in length. No further briefing will be

permitted, and no hearing will be held.




                                     /s/ Catherine D. Perry

                                     CATHERINE D. PERRY
                                     UNITED STATES DISTRICT JUDGE
Dated this 1st day of April, 2019.




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